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No. 04-08-00210-CV



Ron RAY,


Appellant



v.



BEXAR APPRAISAL DISTRICT and Bexar Appraisal Review Board,


Appellees



From the 224th Judicial District Court, Bexar County, Texas


Trial Court No. 2005-CI-13255


Honorable John D. Gabriel, Jr., Judge Presiding



No. 04-08-00212-CV


Ron RAY,


Appellant



v.



BEXAR APPRAISAL DISTRICT and Bexar Appraisal Review Board,


Appellees



From the 407th Judicial District Court, Bexar County, Texas


Trial Court No. 2006-CI-09052


Honorable John D. Gabriel, Jr., Judge Presiding




Opinion by: 	Phylis J. Speedlin, Justice


Sitting: 	Sandee Bryan Marion, Justice

		Phylis J. Speedlin, Justice

		Marialyn Barnard, Justice


Delivered and Filed:	March 18, 2009


AFFIRMED

	This consolidated appeal arises from two lawsuits filed by Ron Ray seeking judicial review
of the Bexar Appraisal District's ad valorem property tax valuation for tax years 2005 and 2006.  Ray
now appeals the trial court's orders dismissing his suits for lack of subject matter jurisdiction.  We
affirm the judgments of the trial court.

Background

	The property at issue is a shopping strip located on Austin Highway in Bexar County.  In
November of 2003, Stumberg Investor Group # 1 transferred the property to McRae Shopping
Center, L.P.  McRae Shopping Center, L.P. is a Texas limited partnership of which Ray is the limited
partner.  The general partner is Eastwood Village Shopping Center, Inc.; Ray is the sole officer and
sole shareholder of that corporation.  A Notice of Protest pertaining to the property for the 2005 tax
year was filed by  "McRae Shopping Center L.P." and signed by "R. Ray as president of G.P."  Ray
appeared at the hearing before the Appraisal Review Board and swore that he was the authorized
agent for the property in question.  On its hearing form, the Board identified the owner of the
property as "Stumberg Investor Group 1."  In a notice mailed to "Ron Ray LP," the Board
subsequently determined that the property owner's name was incorrect--yet did not identify the
correct owner's name--and that the District had overvalued the Austin Highway property.   Ray filed
a similar Notice of Protest pertaining to the same property for the 2006 tax year; he identified the
owner as "Stumberg Investor Group # 1" and signed his name, "Ron Ray" without any designation
of representative capacity.  On its hearing form, the Board identified the owner of the property as
"Stumberg Investor Group 1."  Ray also appeared at the hearing for the 2006 tax year, and received
a determination that was unsatisfactory to him.  

	Ultimately, Ray appealed the Board's orders determining his protests for the 2005 and 2006
assessments of the property to the district court.  The lawsuits were filed by Ron Ray in his own
name.  Both the Bexar Appraisal District and the Bexar Appraisal Review Board requested dismissal
of the suits based on a plea to the jurisdiction.  Specifically, the District and the Board averred that:
1) the named plaintiff in the case, Ron Ray, was not the owner of the property at issue and had no
standing to sue; and 2) the owner of the property in question did not protest the appraisal before the
Board.  At the hearing on the plea to the jurisdiction pertaining to the 2006 tax year, Ray testified
that the record owner of the Austin Highway property is McRae Shopping Center, L.P.  After hearing
Ray's testimony and the argument of counsel, the trial court granted the plea to the jurisdiction and
dismissed the lawsuit. (1)  On appeal, Ray contends the trial court erred in dismissing his suits for lack
of standing because he is the sole owner of the property at issue.  

Standard of Review

	Standing is a prerequisite to subject matter jurisdiction, and a trial court must have subject
matter jurisdiction to decide a case. Bland Indep. Sch. Dist. v. Blue, 34 S.W.3d 547, 553-54 (Tex.
2000). Subject matter jurisdiction may be challenged by a plea to the jurisdiction. Id. A trial court
determines a plea to the jurisdiction by reviewing the pleadings in the plaintiff's favor and examining
the pleader's intent. Id.; Tex. Dep't of Parks &amp; Wildlife v. Miranda, 133 S.W.3d 217, 226 (Tex.
2004). "If the pleadings do not contain sufficient facts to affirmatively demonstrate the trial court's
jurisdiction but do not affirmatively demonstrate incurable defects in jurisdiction, the issue is one
of pleading sufficiency and the plaintiffs should be afforded the opportunity to amend." Miranda,
133 S.W.3d at 226-27.  On the other hand, "[i]f the pleadings affirmatively negate the existence of
jurisdiction, then a plea to the jurisdiction may be granted without allowing the plaintiff an
opportunity to amend."  Id. at 227.  We review a trial court's ruling on a plea to the jurisdiction de
novo.  See id. at 226.

Discussion

	In order to sue or obtain relief from an appraisal review board's decision, the Texas Tax Code
requires the plaintiff to be the owner of the property in dispute, a properly designated agent of the
owner, or the lessee of the property under certain circumstances.  Tex. Tax Code Ann. §§ 1.111,
41.413(b), 42.01, 42.21(b) (Vernon 2008).  "A person or entity who does not meet one of these
criteria, but nonetheless seeks judicial review of an appraisal-review board determination, has neither
a 'legal right' to enforce, . . . nor any 'real controversy' at issue, . . . and therefore, no standing under
the Code."  Koll Bren Fund VI, LP v. Harris County Appraisal Dist., No. 01-07-00321-CV, 2008
WL 525799, at *3 (Tex. App.--Houston [1st Dist.] Feb. 28, 2008, pet. denied); see also Plaza
Equity Partners v. Dallas Cent. Appraisal Dist., 765 S.W.2d 520, 521 (Tex. App.--Dallas 1989, no
writ) (the property owner is the only party, other than the chief appraiser, with standing to appeal
from an appraisal review board's order determining a taxpayer protest).  Lack of subject matter
jurisdiction can be raised at any time.  Gregg County Appraisal Dist. v. Laidlaw Waste Sys., Inc., 907
S.W.2d 12, 17 (Tex. App.--Tyler 1995, writ denied) (citing Holland v. Taylor, 153 Tex. 433, 270
S.W.2d 219 (1954)).  

	Here, the only plaintiff in the appeal to the trial court was Ray.  Ray is not the record owner
of the property at issue.  He asserts, however, that because he owns 100% of the entity (2) in whose
name the property is titled, he is a "property owner."  In fact, throughout his briefing he refers to
himself as a "one-man band"  who has the sole authority to act on behalf of McRae Shopping Center,
L.P. and who is solely liable for paying the property taxes.  Ray also argues that, in this case,
substance should prevail over form because he is clearly the true owner of the property.  We
respectfully disagree.

	Strict compliance with the Tax Code is required to invoke the trial court's jurisdiction.  The
Tax Code's statutory provisions are mandatory and exclusive and must be complied with in all
respects.  Laidlaw Waste Sys., 907 S.W.2d at 16.  "Where statutory rights and remedies are
concerned, the court may act only in the manner provided for by the statute."  Id. (citing Bullock v.
Amoco Prod. Co., 608 S.W.2d 899, 901 (Tex. 1980)).  The Tax Code does not define the term
"property owner," Panola County Appraisal Dist. v. Panola County Fresh Water Supply Dist. No.
1, 69 S.W.3d 278, 281 (Tex. App.--Texarkana 2002, no pet.), but does make clear that only a
property owner has the right to appeal a protest determination to the district court.  See Tex. Tax
Code Ann. § 42.01.  Furthermore, the Code provides an avenue through which a property owner
may designate another person to act as the owner's agent.  Tex. Tax Code Ann. §&nbsp;1.111.  Ray was
not designated as the agent of the property owner as required under section 1.111(b).  Id. § 1.111(b)
(requiring a designation of agent to be made in writing).  

	Our sister court has held that a limited partner of the property owner is not an "owner" of the
property as required by Chapter 42 of the Tax Code.  See Taufiq ex rel. Patrick O'Connor &amp; Assocs.,
Inc. v. Harris County Appraisal Dist., 6 S.W.3d 652, 654 (Tex. App.--Houston [14th Dist.] 1999,
no pet.).  Ray contends that Taufiq is distinguishable because he is also the sole shareholder and
officer of McRae's general partner, Eastwood Village Shopping Center, Inc.  While we agree that
Taufiq did not address the exact facts before us, we decline to construe the Tax Code so liberally as
to permit the limited partner--who is also the sole shareholder and officer of the general partner--of
the record property owner to file suit in district court.  Further, Ray does not cite us to any authority
for the proposition that a "virtual" property owner automatically qualifies as the property owner and
is thereby permitted to avoid strict compliance with the Tax Code.  Because Ray is not the record
owner of the property, he cannot qualify as a property owner under the Tax Code.  We conclude that,
as a matter of law, Ray lacked standing to appeal the Board's assessment to the district court because
he is not the record owner of the Austin Highway property.  Accordingly, the trial court did not have
jurisdiction, and did not err in granting the District's and the Board's motions to dismiss.    Conclusion

	We affirm the judgments of the trial court dismissing Ray's suits for lack of subject matter
jurisdiction.

							Phylis J. Speedlin, Justice

1.   Subsequently, Ray and the Bexar Appraisal District agreed to enter an order dismissing the lawsuit
pertaining to the 2005 tax year so that both cases could be appealed simultaneously.  
2.   Ray testified that the owner of the Austin Highway property is McRae Shopping Center, L.P., and that he
is the limited partner.  He further stated that the general partner is Eastwood Village Shopping Center, Inc., and he is the
sole officer and sole shareholder of that corporation.

